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                                Cite as: 604 U. S. ____ (2025)                 1

                                         Per Curiam

               SUPREME COURT OF THE UNITED STATES
                                        _________________

                                         No. 24A910
                                        _________________


                      DEPARTMENT OF EDUCATION, ET AL. v.
                             CALIFORNIA, ET AL.
                 ON APPLICATION TO VACATE THE ORDER ISSUED BY THE
                 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                                  MASSACHUSETTS
                                       [April 4, 2025]

                  PER CURIAM.
                  On March 10, 2025, the United States District Court for
               the District of Massachusetts issued what it styled as a
               temporary restraining order (TRO) enjoining the Govern-
               ment from terminating various education-related grants.
               The order also requires the Government to pay out past-due
               grant obligations and to continue paying obligations as they
               accrue. The District Court’s conclusion rested on a finding
               that respondents are likely to succeed on the merits of their
               claims under the Administrative Procedure Act (APA), 60
               Stat. 237. On March 26, the Government filed this applica-
               tion to vacate the District Court’s March 10 order (as ex-
               tended on March 24) and requested an immediate adminis-
               trative stay. The application was presented to JUSTICE
               JACKSON and by her referred to the Court.
                  Although the Courts of Appeals generally lack appellate
               jurisdiction over appeals from TROs, several factors counsel
               in favor of construing the District Court’s order as an ap-
               pealable preliminary injunction. Among other considera-
               tions, the District Court’s order carries many of the hall-
               marks of a preliminary injunction. See Sampson v. Murray,
               415 U. S. 61, 87 (1974); Abbott v. Perez, 585 U. S. 579, 594
               (2018). Moreover, the District Court’s “basis for issuing the
               order [is] strongly challenged,” as the Government is likely
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                                         Per Curiam

               to succeed in showing the District Court lacked jurisdiction
               to order the payment of money under the APA. Sampson,
               415 U. S., at 87. The APA’s waiver of sovereign immunity
               does not apply “if any other statute that grants consent to
               suit expressly or impliedly forbids the relief which is
               sought.” 5 U. S. C. §702. Nor does the waiver apply to
               claims seeking “money damages.” Ibid. True, a district
               court’s jurisdiction “is not barred by the possibility” that an
               order setting aside an agency’s action may result in the dis-
               bursement of funds. Bowen v. Massachusetts, 487 U. S.
               879, 910 (1988). But, as we have recognized, the APA’s lim-
               ited waiver of immunity does not extend to orders “to en-
               force a contractual obligation to pay money” along the lines
               of what the District Court ordered here. Great-West Life &
               Annuity Ins. Co. v. Knudson, 534 U. S. 204, 212 (2002). In-
               stead, the Tucker Act grants the Court of Federal Claims
               jurisdiction over suits based on “any express or implied con-
               tract with the United States.” 28 U. S. C. §1491(a)(1).
                  As for the remaining stay factors, respondents have not
               refuted the Government’s representation that it is unlikely
               to recover the grant funds once they are disbursed. No
               grantee “promised to return withdrawn funds should its
               grant termination be reinstated,” and the District Court de-
               clined to impose bond. App. to Application To Vacate Order
               15a, 17a. By contrast, the Government compellingly argues
               that respondents would not suffer irreparable harm while
               the TRO is stayed. Respondents have represented in this
               litigation that they have the financial wherewithal to keep
               their programs running. So, if respondents ultimately pre-
               vail, they can recover any wrongfully withheld funds
               through suit in an appropriate forum. And if respondents
               instead decline to keep the programs operating, then any
               ensuing irreparable harm would be of their own making.
               “Such self-imposed costs are not properly the subject of in-
               quiry on a motion for stay.” Cuomo v. NRC, 772 F. 2d 972,
               977 (CADC 1985) (per curiam).
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                                           Per Curiam

                  We construe the application as seeking a stay pending
               appeal and grant the application. The March 10, 2025 or-
               der and March 24, 2025 extension of the United States Dis-
               trict Court for the District of Massachusetts, case No. 1:25–
               cv–10548, is stayed pending the disposition of the appeal in
               the United States Court of Appeals for the First Circuit and
               disposition of a petition for a writ of certiorari, if such a writ
               is timely sought. Should certiorari be denied, this stay shall
               terminate automatically. In the event certiorari is granted,
               the stay shall terminate upon the sending down of the judg-
               ment of this Court.

                                                                   It is so ordered.

                 THE CHIEF JUSTICE would deny the application.
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                                    KAGAN, J., dissenting

               SUPREME COURT OF THE UNITED STATES
                                        _________________

                                         No. 24A910
                                        _________________


                      DEPARTMENT OF EDUCATION, ET AL. v.
                             CALIFORNIA, ET AL.
                 ON APPLICATION TO VACATE THE ORDER ISSUED BY THE
                 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                                  MASSACHUSETTS
                                       [April 4, 2025]

                  JUSTICE KAGAN, dissenting.
                  It is a mistake for the Court to grant this emergency ap-
               plication. Nowhere in its papers does the Government de-
               fend the legality of canceling the education grants at issue
               here. And contra the per curiam, the respondent States
               have consistently represented that the loss of these grants
               will force them—indeed, has already forced them—to cur-
               tail teacher training programs. See, e.g., Brief in Opposi-
               tion to Application 39–40; App. to Application To Vacate Or-
               der 7a–8a, 34a–35a. The remaining issue is whether this
               suit, brought under the Administrative Procedure Act
               (APA), belongs in an ordinary district court or the Court of
               Federal Claims. As the Court acknowledges, the general
               rule is that APA actions go to district courts, even when a
               remedial order “may result in the disbursement of funds.”
               Ante, at 2 (citing Bowen v. Massachusetts, 487 U. S. 879,
               910 (1988)). To support a different result here, the Court
               relies exclusively on Great-West Life & Annuity Ins. Co. v.
               Knudson, 534 U. S. 204 (2002). But Great-West was not
               brought under the APA, as the Court took care to note. See
               id., at 212 (distinguishing Bowen for that reason). So the
               Court’s reasoning is at the least under-developed, and very
               possibly wrong.
                  The risk of error increases when this Court decides
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                                   KAGAN, J., dissenting

               cases—as here—with barebones briefing, no argument, and
               scarce time for reflection. Sometimes, the Court must act
               in that way despite the risk. And there will of course be
               good-faith disagreements about when that is called for. But
               in my view, nothing about this case demanded our immedi-
               ate intervention. Rather than make new law on our emer-
               gency docket, we should have allowed the dispute to pro-
               ceed in the ordinary way. I respectfully dissent.
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                                    JACKSON, J., dissenting

               SUPREME COURT OF THE UNITED STATES
                                         _________________

                                          No. 24A910
                                         _________________


                      DEPARTMENT OF EDUCATION, ET AL. v.
                             CALIFORNIA, ET AL.
                 ON APPLICATION TO VACATE THE ORDER ISSUED BY THE
                 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF
                                  MASSACHUSETTS
                                        [April 4, 2025]

                  JUSTICE JACKSON, with whom JUSTICE SOTOMAYOR joins,
               dissenting.
                  This application concerns the Department of Education’s
               decision to cancel, with no meaningful explanation, more
               than 100 grants the Federal Government had previously
               awarded to public schools and universities across the coun-
               try. The District Court issued a temporary restraining or-
               der (TRO) finding that the Department’s decision was likely
               unlawful and pausing the grant cancellations while the
               court considers a pending motion for a preliminary injunc-
               tion. The TRO expires in three days, and it will become
               moot even earlier if the District Court rules on the prelimi-
               nary-injunction motion this week.
                  With the TRO on its last legs, a majority of this Court has
               chosen to dive into this dispute today, allowing the Depart-
               ment to implement immediately its new summary grant-
               termination policy. It does so even though the TRO preserves
               the pretermination status quo and causes zero concrete
               harm to the Government. By contrast, reinstating the chal-
               lenged grant-termination policy will inflict significant harm
               on grantees—a fact that the Government barely contests.
               Worse still, the Government does not even deign to defend
               the lawfulness of its actions. Instead, it asks us to superin-
               tend the lower courts’ real-time decisions about ancillary
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               threshold and remedial questions, which we could easily
               wait to address in the ordinary course.
                  It is beyond puzzling that a majority of Justices conceive
               of the Government’s application as an emergency. It is like-
               wise baffling that anyone is persuaded that the equities fa-
               vor the Government when the Government does not even
               argue that the lower courts erred in concluding that it likely
               behaved unlawfully. This application should have been de-
               nied for numerous obvious and independent reasons, and
               the Court does itself—and the legal process—no favors in
               deciding to grant it.
                                              I
                                              A
                  To address a nationwide shortage of qualified teachers,
               Congress has enacted several competitive grant programs
               that facilitate the recruitment, training, and support of ed-
               ucators. This application concerns the Department’s recent
               efforts to terminate grants that were awarded under two
               such programs: the Teacher Quality Partnership (TQP) pro-
               gram and the Supporting Effective Educator Development
               (SEED) program.
                  Congress established the TQP program in 2008, author-
               izing the Department to award grants to high-need educa-
               tional agencies and schools for the purpose of training
               teachers. 20 U. S. C. §§1021(6), 1022a(a), 1022a(c)(1),
               1022h. In the statute that creates this program, Congress
               made plain its intent to (1) “improve student achievement,”
               (2) “improve the quality of . . . teachers,” (3) “hold teacher
               preparation programs at institutions of higher education
               accountable,” and (4) “recruit highly qualified individuals,
               including minorities and individuals from other occupa-
               tions, into the teaching force.” §1022.
                  By statute, the Department awards each TQP grant
               based on a peer-review process “for a period of five years.”
               §§1022b(a), (b)(3). Similarly, under the SEED program,
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                                    JACKSON, J., dissenting

               Congress has mandated that the Department “shall award
               grants” to institutions of higher education and nonprofit en-
               tities that provide certain education-related services, in-
               cluding “evidence-based professional development activi-
               ties” for teachers. §§6672(a)(2), (f ). Congress dictated that
               SEED grants “shall be” awarded for up to a 3-year period,
               subject to a possible 2-year extension. §§6672(b)(1)–(2).
                  On February 5, 2025, the Acting Secretary of Education is-
               sued an internal directive requiring Department personnel
               to review “ ‘issued grants’ ” to “ ‘ensur[e] that Department
               grants do not fund discriminatory practices’ ” that are “ ‘con-
               trary to law or to the Department’s policy objectives’ ” and
               that “ ‘all grants are free from fraud, abuse, and duplica-
               tion.’ ” App. to Application To Vacate Order 12a (App.). The
               directive expressly extends to “ ‘practices . . . in the form of
               [diversity, equity, and inclusion (“DEI”)].’ ” Ibid. (alteration
               in original).
                  Two days later, TQP and SEED grant recipients began to
               receive letters from the Department announcing the termi-
               nation of their grant awards. The letters were identical,
               save for differences in the addressees, grant-award num-
               bers, and termination dates. Each letter included a single
               paragraph regarding the Department’s justification for the
               grant termination, which stated, in full, as follows:
                   “ ‘The grant specified above provides funding for pro-
                   grams that promote or take part in DEI initiatives or
                   other initiatives that unlawfully discriminate on the
                   basis of race, color, religion, sex, national origin, or an-
                   other protected characteristic; that violate either the
                   letter or purpose of Federal civil rights law; that con-
                   flict with the Department’s policy of prioritizing merit,
                   fairness, and excellence in education; that are not free
                   from fraud, abuse, or duplication; or that otherwise fail
                   to serve the best interests of the United States. The
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                   grant is therefore inconsistent with, and no longer ef-
                   fectuates, Department priorities. See 2 C.F.R.
                   §200.340(a)(4); see also 34 C.F.R. §75.253. Therefore,
                   pursuant to, among other authorities, 2 C.F.R.
                   §200.339–43, 34 C.F.R. §75.253, and the termination
                   provisions in your grant award, the Department hereby
                   terminates grant No. [grant award number] in its en-
                   tirety effective [date of letter].’ ” Complaint in No. 25–
                   cv–10548 (D Mass.), ECF Doc. 1, p. 35 (alterations in
                   original).
               Most grantees also received revised grant-award notifica-
               tion letters stating solely that their grants had been
               “deemed to be inconsistent with, and no longer effectuat[e],
               Department priorities. See 2 C.F.R. 200.340(a)(4); see also
               34 C.F.R. 75.253.” Id., at 36–37.
                                            B
                  On March 6, 2025, eight States sued the Department in
               the District of Massachusetts, claiming that this mass,
               summary termination of TQP and SEED grants was arbi-
               trary and capricious, and not in accordance with law, in vi-
               olation of the Administrative Procedure Act (APA).
               5 U. S. C. §706(2)(A). The Plaintiff States alleged that, as
               a result of the grant terminations, their public universities,
               schools, and other institutions “now face abrupt shortfalls
               to their current year budgets collectively exceeding ten mil-
               lion dollars.” ECF Doc. 1, at 41. As relevant, the Plaintiff
               States sought declaratory and injunctive relief to set aside
               the termination of the previously awarded grants. They
               also sought a TRO to immediately block termination of the
               grants.
                  After holding a 2-hour hearing, the District Court issued
               a TRO on March 10. The order “restore[d] Plaintiff States
               to the pre-existing status quo prior to the termination un-
               der all previously awarded TQP or SEED grants for recipi-
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                                    JACKSON, J., dissenting

               ents in Plaintiff States,” and “temporarily enjoined” the De-
               partment from terminating any previously awarded or in-
               dividual TQP or SEED grants for recipients in Plaintiff
               States. ___ F. Supp. 3d ___, ___–___ (Mass. 2025), App. 9a–
               10a. The order also contained an exception permitting the
               Department to make individual grant terminations con-
               sistent with applicable law and regulations.
                  By its terms, the TRO was “effective immediately” and
               would “remain in effect for 14 days,” until March 24. Id., at
               10a. The District Court then separately construed the
               Plaintiff States’ TRO motion as a motion for a preliminary
               injunction and set that motion for a hearing on March 28.
               The District Court subsequently extended the TRO for an
               additional 14 days, until April 7, while also expressing its
               “intent that the TRO be temporary and short.” ECF Doc.
               79.
                  Seeking to enforce its termination decisions during the
               period in which the TRO remained in effect, the Govern-
               ment requested a stay pending appeal. The District Court
               denied the request, as did a unanimous panel of the First
               Circuit. The First Circuit panel assumed without deciding
               that it had jurisdiction to review the TRO and made several
               determinations, including: that the States were likely to
               succeed on the merits of their claim that the Department’s
               termination of the grants was arbitrary and capricious; that
               the Government’s assertions of irreparable harm consisted
               of “speculation and hyperbole”; and that the equitable stay
               factors cut against the Government. ___ F. 4th ___, ___–___
               (2025), App. 24a–35a. The Government then turned to us
               for an emergency stay.
                                             II
                  First and foremost, the Government’s application should
               have been swiftly denied because this Court lacks jurisdic-
               tion over this interlocutory order. It is clear beyond cavil
               that, ordinarily, “orders granting . . . temporary restraining
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                                       JACKSON, J., dissenting

               orders are not appealable.” 16 C. Wright, A. Miller, & E.
               Cooper, Federal Practice and Procedure §3922.1 (3d ed.
               2012). This Court has recognized an exception for TROs
               and other interlocutory orders that are “potentially unlim-
               ited” in duration, Sampson v. Murray, 415 U. S. 61, 87
               (1974), and risk imposing a “ ‘serious, perhaps irreparable,
               consequence,’ ” Carson v. American Brands, Inc., 450 U. S.
               79, 84 (1981). But this time-limited TRO presents no such
               threat.
                  To start, the District Court has merely ordered restora-
               tion of the “pre-existing status quo prior to the termination”
               of the grants in the Plaintiff States. App. 9a. Its order
               comes in the form of an injunction only insofar as it has pro-
               hibited the Government from implementing the abruptly
               announced terminations—the District Court has not or-
               dered that the Government do anything other than what
               was required by law before the termination letters issued.
                  Notably, the TRO also includes an exception that permits
               the Government to make individual grant terminations
               while the order is in effect “to the extent the final agency
               action is consistent with Congressional authorization and
               appropriations, relevant federal statute[s], including the
               requirements of the APA, the requirements of the relevant
               implementing regulations, [and] the grant terms and con-
               ditions.” Id., at 10a. Thus, the Government is only pre-
               cluded from implementing what the Plaintiff States chal-
               lenge as a “mass termination” of previously issued grants;
               the Government can still proceed with reasoned, individu-
               alized grant terminations under its usual review process.1
               ——————
                 1 The Department now rejects the “mass termination” characterization

               on the grounds that it allowed 5 TQP and SEED grants (out of 109) to
               remain in place. App. 14a. But Department employees previously in-
               formed grantees that “[a]ll the grants have been terminated.” ECF Doc.
               8–13, pp. 6, 60 (emphasis added). These inconsistent statements under-
               score the need for additional factual development below before this Court
               gets involved.
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                                   JACKSON, J., dissenting

                  This TRO is also expressly time limited and is set to ex-
               pire just three days from now. All agree that the order falls
               squarely within the time limitations prescribed by the Fed-
               eral Rule of Civil Procedure governing TROs. See Fed. Rule
               Civ. Proc. 65(b)(2) (providing that a TRO is “not to exceed
               14 days” unless “the court, for good cause, extends it for a
               like period”). That is true even though the District Court
               has granted a one-time extension of the TRO while it con-
               siders and rules upon the Plaintiff States’ motion for a pre-
               liminary injunction. See ibid. The Government provides
               no reason to believe that the District Court intends to ex-
               tend the order again. Quite to the contrary, the fact that
               the District Court construed the Plaintiff States’ TRO mo-
               tion as a motion for a preliminary injunction, and has al-
               ready held a hearing, indicates that the court is moving
               with dispatch and is in no way attempting to shield its in-
               terim order from appellate review.
                  This TRO thus falls squarely within the “general congres-
               sional policy against piecemeal review.” Carson, 450 U. S.,
               at 84.
                                            III
                  Even assuming that the TRO is reviewable on appeal, the
               Government’s application does not demonstrate the sort of
               exigency that warrants emergency relief—what I have else-
               where called a “line-jumping justification,” Labrador v. Poe,
               601 U. S. ___, ___ (2024) (opinion dissenting from grant of
               stay) (slip op., at 1). As explained above, TQP and SEED
               are statutorily authorized grant programs that have been
               implemented by the Department for more than a decade—
               since 2008 and 2015, respectively. What is new here is the
               Department’s insistence that it need not go through the no-
               tice and review procedures the agency has traditionally
               used to terminate grants it has awarded. Instead, the De-
               partment now seeks to terminate the pending grants en
               masse, through the use of boilerplate language that is not
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               particularized to any grant recipient.
                  The Government has not provided any persuasive reason
               for why it urgently needs to be relieved of the lower court’s re-
               quirement that it wait 14 days (and now 28) to execute its pre-
               ferred grant-termination policy. Even if the Government is
               right about the merits of the arguments it raises in this ap-
               plication (which is doubtful), there is no reason why the
               Government cannot proceed through the usual litigation
               and appeals process to receive its vindication, as other liti-
               gants must. To reiterate, the TRO expires in three days,
               and the District Court held a hearing on the Plaintiff
               States’ preliminary-injunction motion a week ago. The
               only hint of urgency that the Government offers to justify
               its unusual request for our intervention is that, during the
               waning days of the TRO period, some grant recipients
               might seek to draw down grant funds that the Government
               wants to terminate.
                  If true, that would be unfortunate, but worse things have
               happened. And that possibility does not come anywhere
               close to explaining why this Court must take the “ ‘extraor-
               dinary’ ” step of intervening now. Williams v. Zbaraz, 442
               U. S. 1309, 1311 (1979) (Stevens, J., in chambers); cf. Nken
               v. Holder, 556 U. S. 418, 433 (2009) (“ ‘A stay is not a matter
               of right, even if irreparable injury might otherwise result’ ”).
               In my view, the patent lack of exigency alone warrants
               denying the Government’s bid for emergency relief. See
               Labrador, 601 U. S., at ___ (JACKSON, J., dissenting from
               grant of stay) (slip op., at 1). But, wait, there’s more.
                  The Government’s assertions of harm are speculative, at
               best, and appear to be far from irreparable. Importantly,
               there is no evidence that grantees have rushed to draw
               down the remaining $65 million in grant funds since the
               District Court entered the TRO 25 days ago. If the past is
               the best predictor of the future, then there is no factual ba-
               sis for concluding that any terminated-recipient grant runs
               are likely to occur in the three days remaining in the TRO.
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                                    JACKSON, J., dissenting

                  The Government’s speculation is also contrary to the way
               that the TQP and SEED programs operate. As the Plaintiff
               States explain, TQP and SEED grantees typically “receive
               funds spread over the multi-year period of their grants” and
               “generally submit periodic draw-down requests for ex-
               penses they have already incurred.” Brief in Opposition to
               Application 7. Grant recipients are also closely supervised
               with respect to such withdrawals: “The Department is au-
               thorized to monitor draw-down activity for all grants,” and
               certain recipients are even “subject to an annual audit.” Id.,
               at 8–9.
                  Finally, even if the feared flood of recipient withdrawals
               occurs, the Government has various legal mechanisms to
               recoup these kinds of funds. See, e.g., 20 U. S. C. §§1234a,
               1234b; 2 CFR §200.346 (2024); see also J. Shaffer & D.
               Ramish, Federal Grant Practice §36:29 (2024 ed.) (“In the
               end, the Government usually gets its money”). It is likely
               that, given the Department’s new policy position with re-
               spect to terminations, it will be extra vigilant about record-
               ing any withdrawals made while the TRO is in effect, so
               that the money can be clawed back if appropriate. Thus,
               the alleged funding drain at which the Government ges-
               tures does not even appear to be irreparable. The Govern-
               ment has certainly not met its burden to show otherwise.
               See Hollingsworth v. Perry, 558 U. S. 183, 190 (2010) (per
               curiam) (stay applicants bear the burden to show, among
               other things, “a likelihood [of] irreparable harm”).
                  The Court nonetheless swoops in to stay a TRO that will
               be mooted imminently by either the District Court’s ruling
               on the preliminary-injunction motion or the natural expira-
               tion of the TRO period. Instead of playing remedy police in
               this nascent case, I would permit the litigation to proceed
               in the lower courts as usual, as we would expect in any
               other case in which the Government was not the applicant.
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                                         JACKSON, J., dissenting

                                              IV
                  To review, the Court has now granted the Government’s
               request for “emergency” relief, staying a TRO that will ex-
               pire in just three days in a case where appellate jurisdiction
               is wanting and the Government’s assertions of harm are il-
               lusory. One might reasonably assume that, for the Su-
               preme Court of the United States to step in and grant relief
               in this posture, the applicant would have at least presented
               a rock-solid argument in support of its underlying merits
               position. Thus, here, one would expect the Government to
               vigorously maintain that the Department was legally enti-
               tled to all but eliminate two grant programs that Congress
               established a decade ago. But in this Court, the Govern-
               ment offers no defense against the Plaintiff States’ claim
               that the Department’s erasure of the grants at issue was
               arbitrary and capricious. Instead, the Government raises
               several threshold and remedial questions about the scope of
               the District Court’s power to review the Government’s al-
               legedly unlawful conduct.2
                  The Government’s request for emergency relief from this
               Court—without presenting any defense as to the merits of
               the Plaintiff States’ arbitrary-and-capricious challenge—is
               striking. And the Court now blesses this strategic decision
               to sidestep the underlying merits by reinstating grant ter-
               minations that both lower courts have said are likely un-
               lawful. This seems like a development in our practices re-
               lated to emergency applications that, at a minimum,
               requires further exploration. If the emergency docket has
               now become a vehicle for certain defendants to obtain this

               ——————
                 2 To be specific, the Government argues that the lawfulness of the ter-

               minations is irrelevant for present purposes because (1) the Court of Fed-
               eral Claims, not the District Court, has original jurisdiction over this dis-
               pute; (2) the Department’s grant-termination decisions are “committed
               to agency discretion by law” and thus not reviewable under the APA, 5
               U. S. C. §701(a)(2); and (3) the TRO at issue is too broad.
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               Court’s real-time opinion about lower court rulings on var-
               ious auxiliary matters, we should announce that new policy
               and be prepared to shift how we think about, and address,
               these kinds of applications.
                  I, for one, think it would be a grave mistake to permit
               parties seeking equitable emergency relief not only to make
               an inadequate showing of interim harm but also to seek re-
               lief on the basis of their concerns about issues that can be
               addressed later, in the ordinary course. In an appeals sys-
               tem that is supposed to provide prompt resolution of all le-
               gal challenges, this new avenue for piecemeal interlocutory
               review enables strategic delay and facilitates obfuscation of
               the weaknesses of the defendant’s merits positions.
                                               A
                  Take this case, for example. In my preliminary evalua-
               tion, the lower courts’ early assessment that the Depart-
               ment’s mass grant terminations were probably unlawful is
               not unreasonable, for the reasons I explain in this section.
               If the lower courts were left alone, they would be able to
               provide prompt rulings on the core legal question that we
               could then review, together with the Department’s other ar-
               guments, in the ordinary course.
                  The APA requires, among other things, that an agency
               must not act arbitrarily or capriciously, and that it must
               explain its actions. See, e.g., FCC v. Prometheus Radio Pro-
               ject, 592 U. S. 414, 423 (2021) (“The APA’s arbitrary-and-
               capricious standard requires that agency action be reason-
               able and reasonably explained”). But a mere two days after
               the Acting Secretary instructed agency officials to review
               the TQP and SEED grants, the Department started issuing
               summary grant-termination letters that provide a general
               and disjunctive list of potential grounds for cancellation,
               without specifying which ground led to the termination of
               any particular grant. Nor did the letters detail the Depart-
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               ment’s decisionmaking with respect to any individual ter-
               mination decision. It also appears that the grant recipients
               did not receive any pretermination notice or any oppor-
               tunity to be heard, much less a chance to cure, which the
               regulations seem to require. See, e.g., 2 CFR §§200.339,
               200.208(c) (permitting grant termination only after an
               agency “determines that noncompliance cannot be reme-
               died by imposing additional conditions,” such as by
               “[r]equiring additional project monitoring,” by requiring
               that the recipient obtain technical or management assis-
               tance, or by “[e]stablishing additional prior approvals”).
                  The Department’s robotic rollout of its new mass grant-
               termination policy means that grant recipients and review-
               ing courts are “compelled to guess at the theory underlying
               the agency’s action.” SEC v. Chenery Corp., 332 U. S. 194,
               196–197 (1947). Moreover, the agency’s abruptness leaves
               one wondering whether any reasoned decisionmaking has
               occurred with respect to these terminations at all.3 These
               are precisely the kinds of concerns that the APA’s bar on
               arbitrary-and-capricious agency decisionmaking was
               meant to address. See Prometheus Radio Project, 592 U. S.,
               at 423 (explaining that the APA requires a reviewing court
               to ensure that “the agency . . . has reasonably considered
               the relevant issues and reasonably explained the decision”).
                  It also seems clear that at least one of the items included
               on the Department’s undifferentiated laundry list of possi-
               ble reasons for terminating these grants—that the entity
               may have participated in unspecified DEI practices—would
               ——————
                  3 The Government suggested before the First Circuit that its retention

               of 5 of the 109 previously awarded grants proves that it engaged in rea-
               soned decisionmaking. But the Government has not yet supplied an ad-
               ministrative record to facilitate judicial review. App. 30a; accord, ECF
               Doc. 69, p. 13. Without documentation of the Department’s reasoning,
               its failure to terminate every single grant could just as easily reflect ne-
               glect or even additional arbitrariness. Cf. ECF Doc. 76, p. 7, n. 1 (noting
               that one remaining grant “proposed to ‘focus on culturally responsive
               practices’ ”).
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               not suffice as a basis for termination under the law as it
               currently exists. That is because termination is only per-
               missible for recipient conduct that is inconsistent with the
               terms of the grants and the statutes that authorize them.
               But the TQP and SEED statutes expressly contemplate that
               grant recipients will train educators on teaching “diverse
               populations” in “traditionally underserved” schools, and on
               improving students’ “social, emotional, and physical devel-
               opment.”         20 U. S. C. §§1022e(b)(4), 6672(a)(1),
               1022a(d)(1)(ii).4 It would be manifestly arbitrary and capri-
               cious for the Department to terminate grants for funding
               diversity-related programs that the law expressly requires.
               Cf. Motor Vehicle Mfrs. Assn. of United States, Inc. v. State
               Farm Mut. Automobile Ins. Co., 463 U. S. 29, 43 (1983) (ex-
               plaining that an agency acts arbitrarily and capriciously if
               it relies “on factors which Congress has not intended it to
               consider”).
                                            B
                 It is thus small wonder that the Government has chosen
               not to press its merits arguments in this emergency appli-
               cation. See n. 2, supra. What better way to avoid prompt
               consideration of the Plaintiff States’ serious claims about
               the unlawful arbitrariness of the Government’s conduct
               than to demand that jurists turn away from those core
               questions and entertain a host of side issues about the
               power of the District Court on an “emergency” basis?
               ——————
                 4 See also, e.g., §1022a(d)(5) (encouraging TQP grantees to “recrui[t]

               into the teaching profession . . . individuals from under[-]represented
               populations,” “former military personnel,” and “individuals to teach in
               rural communities”); §1022a(e)(2)(A)(vi) (permitting TQP teacher-residency
               programs to consider choosing “applicants who reflect the communities
               in which they will teach as well as consideration of individuals from un-
               derrepresented populations”); §6672(b)(3) (requiring the Department to
               ensure that SEED grants are, to the extent practicable, “distributed
               among eligible entities that will serve geographically diverse areas, in-
               cluding urban, suburban, and rural areas”).
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               Courts that are properly mulling interim injunctive relief
               (to prevent imminent harms and thereby facilitate fair ad-
               judication of potentially meritorious claims) should be wary
               of allowing defendants with weak underlying arguments to
               divert all attention to ancillary threshold and remedial
               questions. Children, pets, and magicians might find pleas-
               ure in the clever use of such shiny-object tactics. But a
               court of law should not be so easily distracted.
                  Yet, here we are. Instead of leaving the lower court
               judges alone to do the important work of efficiently adjudi-
               cating all of the parties’ legal claims, the Supreme Court
               has decided to enter the fray. We have intervened to stay
               an almost-expired TRO that is plainly preventing the
               Plaintiff States from suffering imminent harm—not be-
               cause the harms will not occur (no one seriously disputes
               this), and not because the Government has shown that any
               harm will actually befall it if the TRO remains in place for
               another three days, but because the Government has tech-
               nical questions about which court is the proper forum to
               hear this case and what relief that court can order. Albeit
               interesting, and perhaps even ultimately dispositive, surely
               those nonurgent issues can get sorted out in the ordinary
               course as part of the lower court’s expedited consideration
               of the legal claims both sides have made. There is no reason
               they have to be addressed by this Court at this moment.
               And it is truly bizarre that a Court that purports to be “a
               court of review, not of first view,” Cutter v. Wilkinson, 544
               U. S. 709, 718, n. 7 (2005), has seen fit to rouse itself to re-
               spond to the Government’s queries by addressing these tan-
               gential legal issues and disturbing a well-justified, harm-
               based TRO in the process.5

               ——————
                  5 Indeed, other than paving the way for the Plaintiff States’ immediate

               suffering, it appears that the primary effect of today’s emergency stay is
               to hand the Government an early “win”—a notch in its belt at the start
               of a legal battle in which the long-term prospects for its eventual success
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                                              V
                 Finally, even if this were a “close cas[e],” Hollingsworth,
               558 U. S., at 190, the balance of the equities clearly counsel
               against staying the TRO and reinstating the grant termi-
               nations. On one side of the balance, the Government’s as-
               sertions of harm if the TRO remains in place amount to
               “speculation and hyperbole,” as the First Circuit put it.
               App. 33a. On the other, there is ample evidence that the
               loss of grants during the remaining days of the TRO period
               will inflict significant harm on the Plaintiff States and their
               instrumentalities.6
                 Those harms are concrete. In Massachusetts, Boston
               Public Schools has already had to fire multiple full-time em-
               ployees due to this loss of grant funding. ECF Doc. 8–2,
               pp. 11–12. In New Jersey, the College of New Jersey has
               canceled the remainder of its teacher-residency program for
               the same reason. ECF Doc. 8–9, pp. 8–9. In Illinois, Chi-

               ——————
               seem doubtful. And I don’t blame the Government for trying. If you’re
               likely to lose on the merits, why not use the Court’s procedures to fight
               on new and creative fronts? The Government has now gotten this Court
               to nullify clearly warranted interim injunctive relief, deflecting attention
               away from the Government’s own highly questionable behavior, all with-
               out any showing of urgency or need. I worry that permitting the emer-
               gency docket to be hijacked in this way, by parties with tangential legal
               questions unrelated to imminent harm, damages our institutional credi-
               bility.
                  6 The majority asserts that the Plaintiff States’ harms may not be ir-

               reparable because they “have represented in this litigation that they
               have the financial wherewithal to keep their programs running.” Ante,
               at 2. At most, the Plaintiff States represented below that the Depart-
               ment’s decision to terminate grants would require their institutions to
               either “expend public funds . . . or suffer the obvious public harms result-
               ing from a scarcity of qualified teachers.” Appellees’ Opposition to Ap-
               pellants’ Motion for Stay in No. 25-1244 (CA1), p. 22. In any event, the
               majority ignores the District Court’s finding that the abrupt grant ter-
               minations have caused the Plaintiff States numerous harms that money
               cannot remedy. App. 8a.
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               cago Public Schools—which already faces a multimillion-dol-
               lar budget deficit—may have to shut down its successful
               teacher-pipeline program. ECF Doc. 8–13, p. 7. In Califor-
               nia, California State University has ended support for 26
               students currently enrolled in its teacher-residency pro-
               gram and has eliminated financial assistance for about 50
               incoming students. ECF Doc. 8–3, p. 7.
                  On the current record, I perceive no clear error in the Dis-
               trict Court’s conclusion that, absent immediate relief, “doz-
               ens of programs upon which public schools, public universi-
               ties, students, teachers, and faculty rely will be gutted.”
               App. 9a. The harms that will result from permitting the
               Department to reinstate these terminations are directly
               contrary to Congress’s goals in enacting the TQP and SEED
               programs and in entrusting the Department with their im-
               plementation. It boggles the mind to equate the devasta-
               tion wrought from such abrupt funding withdrawals with
               the mere risk that some grantees might seek to draw down
               previously promised funds that the Department wants to
               yank away from them.
                                         *     *     *
                  This Court’s eagerness to insert itself into this early stage
               of ongoing litigation over the lawfulness of the Depart-
               ment’s actions—even when doing so facilitates the infliction
               of significant harms on the Plaintiff States, and even
               though the Government has not bothered to press any ar-
               gument that the Department’s harm‐causing conduct is
               lawful—is equal parts unprincipled and unfortunate. It is
               also entirely unwarranted. We do not ordinarily exercise
               jurisdiction over TROs, and this one is no different. The
               Government has not articulated any concrete harm it will
               suffer if the grant terminations are not implemented in the
               next three days. And this Court will have every opportunity
               to address all of the legal issues the Government has hastily
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               shoved up the chain of review, and more, in due course. Be-
               cause we could have and should have easily denied this ap-
               plication, I respectfully dissent.7




               ——————
                  7 Apparently not content to insert itself into this action for no reason,

               the majority goes further, seizing on this opportunity. Without oral ar-
               gument and with less than one week’s worth of deliberation, the Court
               now has determined that, at least in this context, restoring the grants at
               issue might qualify as an order to “ ‘enforce a contractual obligation to
               pay money’ ” such that it is the Court of Federal Claims, rather than the
               District Court, that has jurisdiction over the Plaintiff States’ challenge.
               Ante, at 2 (quoting Great-West Life & Annuity Ins. Co. v. Knudson, 534
               U. S. 204, 212 (2002)). Even assuming that Great-West has any bearing
               on this issue, the majority’s characterization of the relief granted by the
               District Court is dubious given what the Plaintiff States actually say in
               their complaint about the legal problem and the relief they are request-
               ing. See ECF Doc. 1, pp. 46–47, 51–52; see also Bowen v. Massachusetts,
               487 U. S. 879, 893 (1988) (“The fact that a judicial remedy may require
               one party to pay money to another is not a sufficient reason to character-
               ize the relief as ‘money damages’ ”). And the majority does not dispute
               the “basic reality” that some APA challenges to grant-related adminis-
               trative action may proceed in district court, even if they have as their
               “natural consequence . . . the release of funds to the plaintiff down the
               road.” Department of State v. AIDS Vaccine Advocacy Coalition, 604
               U. S. ___, ___ (2025) (ALITO, J., dissenting from denial of application) (slip
               op., at 6).
                  In any event, the District Court in this case is now hard at work evalu-
               ating this and other arguments in the context of the pending preliminary-
               injunction motion. The majority’s attempt to inject itself into the ongoing
               litigation by suggesting new, substantive principles for the District Court
               to consider in this case is unorthodox and, in my view, inappropriate.
